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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:04CR338
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )              TENTATIVE FINDINGS
                                               )
MICHAEL J. HALL,                               )
                                               )
               Defendant.                      )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant‘s objections thereto (Filing Nos. 73, 74). See Order on Sentencing Schedule,

¶ 6. The Court advises the parties that these tentative findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The Defendant objects to the alias “Michael J. Silverstreak” appearing on page 2 of

the PSR. (Filing No. 74.) The objection is denied for the reason stated in the Addendum

to the PSR and because the matter in question does not affect the sentencing guideline

calculation.

       IT IS ORDERED:

       1.      The Defendant’s Objection to the Presentence Investigation Report (Filing

No. 73) is denied as moot;

       2.      The Defendant’s Objection to the Presentence Investigation Report (Filing

No. 74) is denied;

       3.      Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;
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       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 4 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 24th day of March, 2006.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge




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